| _Reset Fornbasp 2:19-cr-00595-CAS YWNGHRSTAIES Bled R6H£@09RBage 1 of 2. Page ID 4:53Print Form
CENTRAL DISTRICT OF CALIFORNIA

g. ee ge = &
© T T 7

fo Xe We Me We
Case Number if " =

 

oe oe
U.S.A. v. Edward Buck

 

Indictment

[_] Information

CASE SUMIMIARY

Defendant Number 1

 

Year of Birth 1954

 

Investigative agency (FBI, DEA, etc.) DEA

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."

OFFENSE/VENUE

a. Offense charged as a:

[_] Class A Misdemeanor [_] Minor Offense [_] Petty Offense
[_] Class B Misdemeanor [_] Class C Misdemeanor [¥] Felony
b. Date of Offense 7/27/17 et seq.

c. County in which first offense occurred

Los Angeles

d. The crimes charged are alleged to have been committed in
(CHECK ALL THAT APPLY):

Los Angeles
[_] Orange

_[_] Riverside

[_] San Bernardino

| Ventura

[_] Santa Barbara
[_] San Luis Obispo

[] Other

Citation of Offense 210U.S.C. 841(a)(1), (b)(1)(C)

 

 

e. Divisionin which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
[_] Eastern (Riverside and San Bernardino) [_] Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and

the same transaction or series of transactions been previously
filed and dismissed before trial?

No C4] Yes

If "Yes," Case Number:

 

Pursuant to General Order 16-05, criminal cases may be related
if a previously filed indictment or information and the present
case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would

entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any (MUST MATCH NOTICE OF RELATED
CASE):

 

 

CR_79 119/171

CASE CLINANARV

PREVIOUSLY FILED COMPLAINT/CVB CITATION
Acomplaint/CVB citation was previously filedon: 9/18/19

 

 

 

 

Case Number: 19-MJ-03937 —
Sy = a

Assigned Judge: DUTY = mt | Te

Charging: 21 U.S.C. 841(a)(1), (bie) 7

The complaint/CVB citation: > ae es T
is still pending | & 2 i
[_] was dismissed on: i

PREVIOUS COUNSEL ' we

Was defendant previously represented? ["]No Yes

IF YES, provide Name: Claire Simonich

 

Phone Number: 213-894-4786

COMPLEX CASE
Are there 8 or more defendants in the Indictment/Information?

[_] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
CHECKED.

SUPERSEDING INDICTMENT/INFORMATION
ISTHISANEWDEFENDANT? [_] Yes [_] No

This isthe N/A superseding charge (i.e., 1st, 2nd).
The superseding case was previously filed on:

 

 

Case Number

 

The superseded case:
[_] is still pending before Judge/Magistrate Judge

 

L] was previously dismissed on

 

Are there 8 or more defendants in the superseding case?
[_] Yes* L_] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* [_] No
Was a Notice of Complex Case filed on the Indictment or
Information?
| No

L | Yes

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.

Daca 1 nf 7
Case 2:19-cr-00595-CAS UNITED STATES DISTRIGDZOVRPage 2 of 2 Page ID #:54
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

 

 

INTERPRETER
Is an interpreter required? [| YES NO
IF YES, list language and/or dialect:

 

OTHER

[vMale [ ] Female
[VU.S. Citizen [| Alien

Alias Name(s)

 

 

This defendant is charged in:

All counts

 

[| Onlycounts:

[_] This defendant is designated as "High Risk" per
18 USC § 3146(a)(2) by the U.S. Attorney.

[_] This defendant is designated as "Special Case” per
18 USC § 3166(b){7).

is defendant a juvenile? [ | Yes No
IF YES, should matter be sealed? [_] Yes [_] No

The area(s) of substantive law that will be involved in this case
include(s):

[_] financial institution fraud [_] publiccorruption
[_] tax offenses

[_] mail/wire fraud

[_] government fraud
_ [J environmental issues

narcotics offenses [_] immigration offenses

[] violent crimes/firearms [] corporate fraud

[] Other

 

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint: N/A

b. Posted bond at complaint level on:
in the amount of $

c. PSA supervision? [_] Yes [_]No
d. Is on bail or release from another district:

 

 

Defendant is in custody:
a. Place of incarceration: [] State Federal

b. Name of Institution: MDC

c. If Federal, U.S. Marshals Service Registration Number:
78687-112

d. Solely on this charge. Date and time of arrest:
9/19/19

e, Onanother conviction: [_] Yes No
IF YES: [_] State [_] Federal
f. Awaiting trial on other charges: Yes [|] No
IF YES : State [|] Federal AND
Name of Court: Superior Court of California, Los Angeles

Date transferred to federal custody: 9/19/19

This person/proceeding is transferred from another district
20 21 40

[_] Writ of Issue

 

pursuant to F.R.Cr.P.

 

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

 

 

 

Date 10/01/2019

LythenHu
Signature ofAssistant U.S. Attorney
Brittney M. Harris

Print Name

 

CR.7DVITI/IWTN

CASE CLIRAMAARY Daso 9 nf 9
